      Case 19-10199-MBK                       Doc 10       Filed 01/23/19          Entered 01/23/19 14:28:53                        Desc Main
                                             Document
STATISTICAL INFORMATION ONLY: Debtor must select                 Page
                                                 the number of each of the 1  of 5 items included in the Plan.
                                                                           following

_0 Valuation of Security                1 Assumption of Executory Contract or Unexpired Lease                               0_ Lien Avoidance




                                                                                                                      Last revised: September 1, 2018
                                                        UNITED STATES BANKRUPTCY COURT
                                                             DISTRICT OF NEW JERSEY

In Re: Denis Clark                                                           Case No.:

Debtor(s)                                                                    Judge: Kaplan

                                                             Chapter 13 Plan and Motions

                                   Original                  Modified/Notice Required

                                   Motions Included          Modified/No Notice Required           Date:    01/23/2019

                                                      THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                       CHAPTER 13 OF THE BANKRUPTCY CODE
                                                          YOUR RIGHTS WILL BE AFFECTED
You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the confirmation
hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You should read these
papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan or any motion included in it must
file a written objection within the time frame stated in the Notice. Your rights may be affected by this plan. Your claim may be reduced, modified, or
eliminated. This Plan may be confirmed and become binding, and included motions may be granted without further notice or hearing, unless
written objection is filed before the deadline stated in the Notice. The Court may confirm this plan, if there are no timely filed objections, without
further notice. See Bankruptcy Rule 3015. If this plan includes motions to avoid or modify a lien, the lien avoidance or modification may take place
solely within the chapter 13 confirmation process. The plan confirmation order alone will avoid or modify the lien. The debtor need not file a
separate motion or adversary proceeding to avoid or modify a lien based on value of the collateral or to reduce the interest rate. An affected lien
creditor who wishes to contest said treatment must file a timely objection and appear at the confirmation hearing to prosecute same.

The following matters may be of particular importance. Debtors must check one box on each line to state whether the plan includes each of the
following items. If an item is checked as “Does Not” or if both boxes are checked, the provision will be ineffective if set out later in the plan.


THIS PLAN:
      DOES       DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE SET FORTH IN PART
10.
   DOES     DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL, WHICH MAY
RESULTS IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE MOTIONS SET FORTH IN PART 7, IF
ANY.
  DOES     DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY INTEREST. SEE
MOTIONS SET FORTH IN PART 7, IF ANY.



Initial Debtor(s)' Attorney: JLM                                  Initial Debtor: DC                       Initial Co-Debtor: ___
     Case 19-10199-MBK                     Doc 10       Filed 01/23/19 Entered 01/23/19 14:28:53                              Desc Main
                                                        Document     Page 2 of 5
 Part 1: Payment and Length of Plan

      a. The debtor shall pay $750.00 per Month to the Chapter 13 Trustee, starting on February 01, 2019 for approximately 60 months.
      b. The debtor shall make plan payments to the Trustee from the following sources:

                    Future earnings

                    Other sources of funding (describe source, amount and date when funds are available):



      c. Use of real property to satisfy plan obligations:
                   Sale of real property
                      Description: ____________________
                      Proposed date for completion: ____________________
                  Refinance of real property:
                      Description: ____________________
                      Proposed date for completion: ____________________
                  Loan modification with respect to mortgage encumbering property:
                      Description: _______________________
                      Proposed date for completion: ______________
      d.     The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

      e.     Other information that may be important relating to the payment and length of plan:




 Part 2: Adequate Protection               None

      a. Adequate protection payments will be made in the amount of $_______________ to be paid to the Chapter 13 Trustee and disbursed
      pre-confirmation to ______________________________ (creditor).
      b. Adequate protection payments will be made in the amount of $_______________ to be paid directly by the debtor(s) outside the Plan,
      pre-confirmation to: ______________________________ (creditor).


 Part 3: Priority Claims (Including Administrative Expenses)

      a. All allowed priority claims will be paid in full unless the creditor agrees otherwise:

                           Creditor                                         Type of Priority                      Amount to be Paid

CHAPTER 13 STANDING TRUSTEE                                        ADMINISTRATIVE                  AS ALLOWED BY STATUTE

ATTORNEY FEE BALANCE                                               ADMINISTRATIVE                  BALANCE DUE: $1,850.00

DOMESTIC SUPPORT OBLIGATION                                                                        $0.00

      b. Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount: Check one:
           None

         The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
      governmental unit and will be paid less than the full amount of the claim pursuant to 11 U.S.C.1322(a)(4):

     Creditor                      Type of Priority                          Claim Amount                          Amount to be Paid




 Part 4: Secured Claims

a. Curing Default and Maintaining Payments on Principal Residence
    NONE


The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the debtor shall pay directly to
the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:
      Case 19-10199-MBK                    Doc 10          Filed 01/23/19 Entered 01/23/19 14:28:53 Desc Main
                                                           DocumentInterestPage
                                                                            Rate on3 of 5
                                                                                        Amount to be Paid to Regular Monthly Payment
      Creditor             Collateral or Type of Debt      Arrearage
                                                                           Arrearage             Creditor (In Plan)               (Outside Plan)

Wells Fargo Home        36 Blenheim Road,
                                                           $41,585.53 2.00%                $38,250                        $2,150.00
Mortgage                Manalapan, NJ 07726




 b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears:
     NONE


 The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the debtor will pay directly to the
 creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:

             Collateral or Type of                   Interest Rate on       Amount to be Paid to Creditor (In     Regular Monthly Payment (Outside
Creditor                             Arrearage
                     Debt                               Arrearage                        Plan)                                 Plan)




 c. Secured claims excluded from 11 U.S.C. 506:
     NONE


 The following claims were either incurred within 910 days before the petition date and are secured by a purchase money security interest in a
 motor vehicle acquired for the personal use of the debtor(s), or incurred within one year of the petition date and secured by a purchase money
 security interest in any other thing of value:

 Name of Creditor       Collateral   Interest Rate      Amount of Claim          Total to be Paid Through the Plan Including Interest Calculation




 d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments
     NONE


 1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the secured creditor shall be paid the
 amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as stated. The portion of any allowed claim that exceeds that value
 shall be treated as an unsecured claim. If a secured claim is identified as having “NO VALUE” it shall be treated as an unsecured claim.
                                             NOTE: A modification under this Section ALSO REQUIRES
                                            the appropriate motion to be filed under Section 7 of the Plan.

                        Scheduled       Total Collateral      Superior      Value of Creditor Interest in       Annual Interest    Total Amount to be
Creditor Collateral
                          Debt              Value              Liens                 Collateral                     Rate                  Paid



2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed secured claim shall discharge the
corresponding lien.

e. Surrender

     NONE


Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and that the stay under 11 U.S.C
1301be terminated in all respects. The Debtor surrenders the following collateral:

  Creditor            Collateral to be Surrendered                 Value of Surrendered Collateral                    Remaining Unsecured Debt




 f. Secured Claims Unaffected by the Plan     NONE
 The following secured claims are unaffected by the Plan:
 Ally Financial


g. Secured Claims to be Paid in Full Through the Plan:        NONE

Creditor               Collateral                Total Amount to be Paid Through the Plan
      Case 19-10199-MBK                      Doc 10         Filed 01/23/19 Entered 01/23/19 14:28:53                                    Desc Main
                                                            Document     Page 4 of 5
  Part 5: Unsecured Claims
      NONE



       a. Not separately classified allowed non-priority unsecured claims shall be paid:




                    Pro Rata distribution from any remaining funds
      b. Separately classified unsecured claims shall be treated as follows:

    Creditor                          Basis of Separate Classification                               Treatment                    Amount to be Paid




  Part 6: Executory Contracts and Unexpired Leases
      NONE



 (NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may preventassumption of non-residential real property leases in this Plan.)
 All executory contracts and unexpired leases are rejected, except the following, which are assumed:

    Creditor             Arrears to be Cured in Plan           Nature of Contract or Lease             Treatment by Debtor          Post-Petition Payment

GM Financial       N/A                                      Car Lease                                Pay outside plan            $335.00




  Part 7: Motions           NONE

 NOTE: All plans containing motions must be served on all potentially affected creditors, together with local form,Notice of Chapter 13 Plan
 Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1. ACertification of Service must be filed with the Clerk of Court
 when the plan and transmittal notice are served.


 a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f).          NONE
 The Debtor moves to avoid the following liens that impair exemptions:


                                                                                                                               Sum of All
                                                                                                            Amount of                           Amount of
                                Nature of                               Amount of       Value of                               Other Liens
 Creditor                                         Type of Lien                                              Claimed                             Lien to be
                                Collateral                              Lien            Collateral                             Against the
                                                                                                            Exemption                           Avoided
                                                                                                                               Property




 b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured.
      NONE


The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent withPart 4 above:

                          Schedule       Total Collateral        Superior           Value of Creditor’s Interest in            Total Amount of Lien to be
Creditor Collateral
                            Debt             Value                Liens                       Collateral                              Reclassified




 c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially Unsecured.                NONE
 The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and tovoid liens on collateral consistent with
 Part 4 above:


Creditor    Collateral    Scheduled Debt     Total Collateral Value       Amount to be Deemed Secured                 Amount to be Reclassified as Unsecured
     Case 19-10199-MBK                      Doc 10           Filed 01/23/19 Entered 01/23/19 14:28:53                            Desc Main
                                                             Document     Page 5 of 5
  Part 8: Other Plan Provisions

         a. Vesting of Property of the Estate
                     Upon confirmation

                     Upon discharge
         b. Payment Notices
         Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the Debtor notwithstanding the
         automatic stay.
         c. Order of Distribution
         The Trustee shall pay allowed claims in the following order:
                1) Ch. 13 Standing Trustee commissions
                2) Administrative Claims
                3) Secured Claims
                4) Unsecuried Prioity Claims
         d. Post-Petition Claims

         The Trustee       is,   is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in the amount filed by the
         post-petition claimant.


 Part 9: Modification           NONE

         If this Plan modifies a Plan previously filed in this case, complete the information below.
         Date of Plan being Modified: _________________________.


 Explain below why the plan is being modified:                                  Explain below how the plan is being modified:




         Are Schedules I and J being filed simultaneously with this Modified Plan?         Yes         No


Part 10: Non-Standard Provision(s): Signatures Required

Non-Standard Provisions Requiring Separate Signatures:

     NONE

     Explain here:


Any non-standard provisions placed elsewhere in this plan are ineffective.




Signatures



The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.
By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s) certify that the wording and
order of the provisions in this Chapter 13 Plan are identical to Local Form, Chapter 13 Plan and Motions, other than any non-standard provisions
included in Part 10.


I certify under penalty of perjury that the above is true.
Date: 01/23/2019                                                                            /s/ Denis Clark
                                                                                            Debtor
 Date:
                                                                                            Joint Debtor
Date: 01/23/2019                                                                            /s/ Javier Merino
                                                                                            Attorney for the Debtor
